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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :         Case No. 1:21-cr-0051 (TJK)
       v.                                    :
                                             :
BRYAN BETANCUR,                              :
    also known as Bryan Clooney,             :
    also known as Maximo Clooney             :
                                             :
               Defendant.                    :


                                     NOTICE OF FILING


       The United States respectfully requests that the following link, which was provided to the

Court and defense counsel on August 9, 2022 and referenced during the August 10, 2022

sentencing hearing, be incorporated into the record:

https://www.youtube.com/watch?app=desktop&v=Z-nkf1PuTdU .



                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             United States Attorney
                                             D.C. Bar No. 481052

                                     By:     /s/ Maria Y. Fedor
                                             Maria Y. Fedor
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                               CERTIFICATE OF SERVICE


       On this 11th day of August 2022, a copy of the foregoing was served upon all parties listed

on the Electronic Case Filing (ECF) System.



                                     By:      /s/ Maria Y. Fedor
                                              Maria Y. Fedor
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